                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          DOCKET NO. 3:97-cr-00294-MOC-DSC

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                 ORDER
                                               )
 AMY GRIGG,                                    )
                                               )
                  Defendant.                   )



       THIS MATTER is before the court on the government’s Motion for Dismissal of Order

of Continuing Garnishment. Having considered the government’s motion and reviewed the

pleadings, the court enters the following Order.

                                          ORDER

       IT IS, THEREFORE, ORDERED that the government’s Motion for Dismissal of Order

of Continuing Garnishment (#563) is GRANTED, and such Order (#554) is dismissed.




 Signed: May 21, 2015




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